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                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                               Case No. 1:22-cr-00149-BLW
             Plaintiff,
                                               ORDER
     v.

  TYLER JAY WATSON,

             Defendant.



      The Court has before it defendant’s second unopposed motion to continue

trial. (Dkt. 19). Defense counsel explains that additional discovery may be

forthcoming and that he needs additional time to investigate and research whether

incriminating evidence was discovered through the violation of Mr. Watson’s

constitutional rights. Counsel therefore seeks a 60-day continuance. The

Government does not oppose the motion.

      Under all these circumstances, the Court finds that a continuance is needed

to give defense counsel an opportunity to provide an effective defense. Thus, a

continuance is warranted under 18 U.S.C. § 3161(h)(7)(B)(iv), which authorizes a

finding of excludable time when the refusal to grant a continuance would “deny

counsel for the defendant . . . the reasonable time necessary for effective


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preparation . . . .” Under these circumstances, the interests of justice in allowing

the defense time for effective preparation outweighs the defendant’s and the

public’s interest in a speedy trial under 18 U.S.C. § 3161(h)(7)(A).

      The statements of defense counsel establish that the trial should be reset on

April 3, 2023 at 1:30 pm at the United States Courthouse in Boise, Idaho—

Courtroom 3. The Court finds that the period of time between the filing of the

Motion to Continue and the new trial date is excludable time under the Speedy

Trial Act. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the unopposed

motion to continue trial (Dkt. 19) shall be, and the same is hereby GRANTED, and

that the present trial date be VACATED, and that a new trial be set for April 3,

2023 at 1:30 pm at the United States Courthouse in Boise, Idaho—Courtroom 3.

      IT IS FURTHER ORDERED that the period of time between the filing of

the Motion to Continue and the new trial date be deemed EXCLUDABLE TIME

under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) & (B).

      IT IS FURTHER ORDERED that the current trial readiness conference be

VACATED, and that a new trial readiness conference be conducted by telephone

on March 23, 2023 at 4:00 p.m. The Government shall place the call to (208) 334-

9027 with opposing counsel on the line.




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     IT IS FURTHER ORDERED that all pretrial motions shall be filed on or

before March 6, 2023.



                                        DATED: December 2, 2022


                                        _________________________
                                        B. Lynn Winmill
                                        U.S. District Court Judge




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